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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-1531V
                                      Filed: April 22, 2016
                                          Unpublished

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CAROLE BATSON,                         *
                                       *
                   Petitioner,         *      Joint Stipulation on Damages;
                                       *      Influenza (“Flu”) Vaccine; Shoulder
                                       *      Injury; Special Processing Unit (“SPU”)
SECRETARY OF HEALTH                    *
AND HUMAN SERVICES,                    *
                                       *
                   Respondent.         *
                                       *
****************************
Tara C. O’Mahoney, Law Offices of Chicago-Kent College of Law, Chicago, IL, for
      petitioner.
Lara A. Englund, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION 1

Dorsey, Chief Special Master:

        On December 16, 2015, Carole Batson (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq., 2 (the “Vaccine Act”). Petitioner alleges that she suffered a shoulder
injury as a result of her receipt of an influenza (“flu”) vaccine on January 9, 2013.
Petition at 1; Stipulation, filed Apr. 21, 2016, at ¶¶ 1, 2, 4. Petitioner further alleges that
she received the vaccination in the United States, that she has suffered the effects of
her injury for more than six months, and that she has not received compensation for her
vaccine related injury. Pet. at ¶¶ 4, 48, 50; see also Stip. at ¶¶ 3-5. Respondent denies
that the flu vaccine is the cause of petitioner’s shoulder injury or any other injury or her
current condition. Stip. at ¶ 6.



1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        Nevertheless, on April 21, 2016, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. The undersigned
finds the stipulation reasonable and adopts it as the decision of the Court in awarding
damages, on the terms set forth therein.

        The parties stipulate that petitioner shall receive the following compensation:

        A lump sum of $80,000.00 in the form of a check payable to petitioner. Stip.
        at ¶ 8. This amount represents compensation for all items of damages that
        would be available under 42 U.S.C. § 300aa-15(a). Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

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